                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MISSOURI
                      WESTERN DIVISION – KANSAS CITY

GEICO GENERAL INSURANCE             )
COMPANY,                            )
                                    )
and                                 )
                                    )
GOVERNMENT EMPLOYEES                )
INSURANCE COMPANY,                  )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )    Case No. 4:22-cv-00082-CV-W-FJG
                                    )
MARTIN BRAUNER,                     )
                                    )
and                                 )
                                    )
M.O.,                               )
                                    )
            Defendants.             )
                                    )
AND                                 )
                                    )
MARTIN BRAUNER                      )
                                    )
and                                 )
                                    )
M.O.,                               )
                                    )
            Counter-plaintiffs,     )
                                    )
v.                                  )
                                    )
GEICO GENERAL INSURANCE             )
COMPANY,                            )
                                    )
and                                 )
                                    )
GOVERNMENT EMPLOYEES                )
INSURANCE COMPANY,                  )
                                    )
            Counter-defendants,     )


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             GEICO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and this Court’s local rule 56.1,

Plaintiffs Government Employees Insurance Company and GEICO General Insurance Company

(collectively “GEICO”) move for summary judgment. In support of this motion, GEICO provides

its accompanying memorandum with authority and argument for why GEICO is entitled to

judgment as a matter of law. In short, the subject GEICO policy’s terms, as interpreted by Kansas

law, demonstrate that M.O.’s alleged injury is not covered by that GEICO policy.

       WHEREFORE, GEICO requests this Court grant GEICO’s Motion for Summary

Judgment, and for all other relief this Court deems just and proper.



                                                     Respectfully submitted,



                                                     SHOOK, HARDY & BACON L.L.P.

                                                     By: /s/ Douglas S. Beck
                                                         Douglas S. Beck, #70743
                                                         Sarah Lynn Baltzell, MO #60937
                                                         W. Clark Richardson, #27740
                                                         Michael Hayes, #71922
                                                         2555 Grand Boulevard
                                                         Kansas City, Missouri 64108-2613
                                                         Telephone: 816-474-6550
                                                         Facsimile: 816-421-5547
                                                         dbeck@shb.com
                                                         slynn@shb.com
                                                         wrichardson@shb.com
                                                         mhayes@shb.com

                                                          J. Max Rosen (pro hac vice pending)
                                                          Munger, Tolles & Olson L.L.P.
                                                          560 Mission Street, 27th Floor
                                                          San Francisco, CA 94105
                                                          Telephone: 415-512-4000
                                                          Max.rosen@mto.com


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                                    Cary B. Lerman (pro hac vice pending)
                                    Munger, Tolles & Olson L.L.P.
                                    350 South Grand Avenue, 50th Floor
                                    Los Angeles, CA 90071-3426
                                    Telephone: 213-683-9100
                                    Facsimile: 213-683-5163
                                    Cary.lerman@mto.com

                                 ATTORNEYS FOR PLAINTIFFS




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing was filed and served via the Court’s electronic

filing system on June 24, 2022, upon all counsel of record.



                                             /s/ Douglas S. Beck




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